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 Edwards Lifesciences LLC, a Delaware Limited Liability Company; Edwards                        Michael Thompson, an Individual,
 Lifesciences Corporation, a Delaware Corporation,




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                        X
                                                                                                                             X



                                                                                                                                       X




                                                                                                                         X




                            Defend Trade Secrets Acts of 2016

                             Misappropriation of Plaintiff's trade secrets for purposes of solicitation of customers .

                                                                                                          >$75,000
                                                                                                                                   X




9/17/2024
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